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		OSCN Found Document:STATE ex rel. OKLAHOMA BAR ASSOCIATION v JANZEN

					

				
  



				
					
					
						
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				STATE ex rel. OKLAHOMA BAR ASSOCIATION v JANZEN2020 OK 19Case Number: SCBD-6903Decided: 03/27/2020THE SUPREME COURT OF THE STATE OF OKLAHOMA
Cite as: 2020 OK 19, __ P.3d __

				
FOR PUBLICATION IN OBJ ONLY. NOT FOR OFFICIAL PUBLICATION 

State of Oklahoma ex rel. Oklahoma Bar Association, Complainant,
v.
Carolyn Janzen, Respondent.
ORDER OF IMMEDIATE INTERIM SUSPENSION
¶1 The Oklahoma Bar Association (OBA), in compliance with Rules 7.1 and 7.2 of the Rules Governing Disciplinary Proceedings (RGDP), has forwarded to this Court certified copies of the Information, Affidavits, Plea of No Contest, Judgment, Sentence, and Record of Proceedings, felony, in the matter of State of Oklahoma v. Carolyn Janzen, CF-2012-30, in Greer County, Oklahoma. On February 20, 2020, Respondent pled no contest to the following crime, occurring sometime in July 2010: False Pretenses/Con Game in violation of 21 O.S. § 1541.2, Felony. On February 20, 2020, the Court sentenced Respondent to 8 years in the custody of the Department of Corrections, with all suspended. Respondent was ordered to pay restitution of $7,100, a fine of $1,000, costs and fees.
¶2 The Court notes that Carolyn Janzen's name was stricken from the membership rolls of the Oklahoma Bar Association for failure to pay dues, effective September 20, 2004, and that Janzen is presently not licensed to practice law in the State of Oklahoma. Pursuant to Rule 1.1, RGDP, this Court retains jurisdiction to impose discipline for cause on a lawyer whose name has been stricken from the Roll of Attorneys for non-payment of dues or for failure to complete mandatory continuing legal education.
¶3 Rule 7.3 of the RGDP provides: "Upon receipt of the certified copies of Judgment and Sentence on a plea of guilty, order deferring judgment and sentence, indictment or information and the judgment and sentence, the Supreme Court shall by order immediately suspend the lawyer from the practice of law until further order of the Court." Having received certified copies of these papers and orders, this Court orders that Carolyn Janzen is immediately suspended from the practice of law. This disciplinary interim suspension pursuant to Rule 7.3 will remain effective regardless of any remedy of the prior administrative suspension. Carolyn Janzen is directed to show cause, if any, no later than May 18, 2020, why this order of interim suspension should be set aside. See RGDP Rule 7.3. The OBA has until June 2, 2020, to respond.
¶4 Rule 7.2 of the RGDP provides that a certified copy of a plea of guilty, an order deferring judgment and sentence, or information and judgment and sentence of conviction "shall constitute the charge and be conclusive evidence of the commission of the crime upon which the judgment and sentence is based and shall suffice as the basis for discipline in accordance with these rules." Pursuant to Rule 7.4 of the RGDP, Carolyn Janzen has until June 17, 2020, to show cause in writing why a final order of discipline should not be imposed, to request a hearing, or to file a brief and any evidence tending to mitigate the severity of discipline. The OBA has until July 2, 2020, to respond.
¶5 DONE BY ORDER OF THE SUPREME COURT in conference on March 27, 2020. 
/S/CHIEF JUSTICE 
Gurich, C.J., Kauger, Winchester, Edmondson, Colbert, Combs, Kane and Rowe, JJ, concur;
Darby, V.C.J., not participating




	Citationizer© Summary of Documents Citing This Document
	
	
		
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	None Found.
	
	
	Citationizer: Table of Authority
	
	
		
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	Title 21. Crimes and Punishments
&nbsp;CiteNameLevel

&nbsp;21 Ohio St. 1541.2, Penalty - Value of Property, Money, or Valuable ThingCited


	
	








				
					
					
				

		
		

	
		
			
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